     Case 2:07-cv-00005-EJL-LMB Document 1 Filed 01/04/07 Page 1 of 4




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Attorneys for Defendant Safeco

                               UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF IDAHO

HUBERT VAN DER HEIJDEN, and CARLY                  )
VAN DER HEIJDEN, husband and wife                  )
                                                   )
                 Plaintiffs,                       )     CASE NO. 07-5
                                                   )
v.                                                 )
                                                   )     NOTICE OF REMOVAL
SAFECO INSURANCE CO. OF AMERICA, a                 )
foreign corporation licensed to do business in     )
Idaho,                                             )
                                                   )
                 Defendant.                        )
                                                   )

          Defendant Safeco Insurance Company of America [hereinafter “Safeco”], for the
purpose of removing this case to the United States District Court for the District of Idaho,
states:
1.        An action was commenced by service upon the Insurance Commissioner of the State

NOTICE OF REMOVAL                1
     Case 2:07-cv-00005-EJL-LMB Document 1 Filed 01/04/07 Page 2 of 4




        of Idaho on December 11, 2006, in the District Court of the First Judicial District of
        the State of Idaho, entitled Hubert Van Der Heijden and Carly Van Der Heijden v.
        Safeco Insurance Co. Of America. In this action, plaintiff seeks damages “exceeding
        $700,000" for Breach of Contract, Breach of Good Faith and Fair Dealing, Bad
        Faith, Deceptive Business Practices, in addition to costs and attorney’s fees.
2.      Plaintiffs, Hubert and Carly Van Der Heijden are adults residing in Bonner County,
        Idaho.
3.      Defendant Safeco is a Washington Corporation with its principal place of business in
        Seattle, Washington.
4.      The above-described action is one in which this Court has original jurisdiction under
        the provisions of 28 U.S.C. § 1332 and is one which may be removed to this Court
        by Defendant Safeco pursuant to the provisions of 28 U.S.C. § 1441(a).
5.      Because this action arises in a matter over which this Court has original jurisdiction,
        the action “may be removed by the [Defendant] to the district court of the United
        States for the district and division embracing the place where such action is
        pending.” 28 U.S.C. § 1441(a).
6.      Removal is timely under 28 U.S.C. § 1446(b), which allows Defendant Safeco thirty
        (30) days from receipt of the initial pleading setting forth the claim for relief upon
        which such action or proceeding is based. The Summons and Complaint were
        served upon the Insurance Commissioner of the State of Idaho on December 11,
        2006.
7.      True and correct copies of the original Summons, Complaint, and Insurance
        Commissioner’s Certificate of Service are attached as Exhibit “A” hereto, along with
        a copy of the entire state court record and the docket sheet.
8.      Attached as Exhibit “B” is a copy of the Notice of Removal to Federal Court, which
        is being filed with the District Court of the First Judicial District of the State of
        Idaho.
9.      By filing the instant Notice of Removal, Defendant Safeco does not waive, and fully


NOTICE OF REMOVAL               2
  Case 2:07-cv-00005-EJL-LMB Document 1 Filed 01/04/07 Page 3 of 4




      reserves, all defenses it may have, including but not limited to defenses of lack of
      personal jurisdiction, lack of subject matter jurisdiction, and failure to state a claim
      upon which relief may be granted.
10.   Written notice of this Notice of Removal is further being provided to Plaintiffs by
      service of this document on Plaintiffs’ Counsel. See Ex. B.
11.   Based upon the foregoing, Defendant Safeco respectfully requests that the United
      States District Court for the District of Idaho accept this Notice of Removal and that
      it assume jurisdiction of this cause and issue such further orders and processes as
      may be necessary to bring before it all parties necessary.


      Dated this 4th day of January, 2007.


                                                     MORRISON & ASSOCIATES PC


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                                                     Attorneys for Defendant Safeco
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NOTICE OF REMOVAL             3
   Case 2:07-cv-00005-EJL-LMB Document 1 Filed 01/04/07 Page 4 of 4




                                               CERTIFICATE OF TRANSMITTAL

I hereby certify that a true and correct copy of the foregoing was, on the 4th day of January, 2007,

             [ ] hand delivered
             [X] faxed
             [ ] mailed by first class mail, postage prepaid

             to the following:

             John R Layman . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . Fax (509) 624-2902
             Layman Layman & Robinson PLLP
             601 S Division Street
             Spokane WA 99202

                                                                                        /s Regina McCrea, ISB #6845
                                                                                       of Morrison & Associates, PC




NOTICE OF REMOVAL                             4
